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                      Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 1 of 24 PageID: 1345
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                 vgom                                                                APR 2 9 2003
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                                          UNITED STATES DISTRICT COURT              Wl-LL-IA_M_T-.-W-A-LS_H__,
                                             DISTRICT OF NEW JERSEY               µLEAK
                 -------------------------                    Hon.    05- ,?J;) 7 _ LJ_)
                 UNITED STATES OF AMERICA
                                                              CRIM. NO.
                                v.                            TITLE 18 U.S.C. Sections 371,
                                                              664, 1956(a) and 2
                 JOSEPH NARDONE, JR.,                         TITLE 29 u.s.c. Section 501(c)
                 STANLEY ROTHMAN and
                 PETER HASHO


                                                    INDICTMENT

                          The Grand Jury in and for the District of New Jersey,

                 sitting at Newark, charges that

                                                     COUNT ONE

                                      (Conspiracy to Steal Welfare Funds)

                          1. At all times relevant to this Indictment:

                          (a) Local 148 of the International Novelty Workers Union

                 (hereinafter "Local 148"), located at One Nardone Place, Jersey

                 City, New Jersey, was a "labor organization" within the meaning

                 of the provisions of Title 29, United States Code, Sections

                 152(5), 402(i), 402(j) and 1002(4).                 It represented and admitted

                 to membership persons employed in the garment industry and other

                 service industries in New Jersey, and elsewhere.

                          (b) Local 148 also maintained an employee welfare benefit




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  Case
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       2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 2 of 24 PageID: 1346




plan (hereinafter the Welfare Fund), within the meaning of the

Employment Retirement Income Security Act of 1974 (hereinafter

ERISA), as embodied in Title 29, United States Code, Section 1002

( 1) .

         (c) Defendant JOSEPH NARDONE, JR. served as a trustee and

the Administrator of the Welfare Fund from 1996 until the

present.         As such, he was a fiduciary who occupied a position of

trust pursuant to Title 29, United States Code, Sections 1104 and

1106.          As a fiduciary, his duties were, among others:     (1) to act

solely in the interests of the participants of the Welfare Fund;

(2) to avoid acting in his own personal self-interest; and (3) to

avoid acting on behalf of any party whose interests were adverse

to the interests of the Welfare Fund.

         (d)    "John Doe", an unindicted coconspirator, was an officer

of Local 148 and a representative and a trustee of the Welfare

Fund from approximately 1959 until March 31, 1996.            From February

1996 until 1999, he was an adviser to the Welfare Fund.

         (e) Defendant STANLEY ROTHMAN was the President of York

Builders, a company doing business in the construction industry

in Hudson County, New Jersey and elsewhere.           From 1996 through

1999, defendant STANLEY ROTHMAN, doing business as York Builders,

acted as the general contractor on a parking lot project at 242-




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 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 3 of 24 PageID: 1347
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244 Beacon Ave, Jersey City, New Jersey (hereinafter the parking

lot project) and a building renovation project at One Nardone

Place (hereinafter the renovation project) for the Welfare Fund.

      (f)   JOE-STAN Corp. was a corporation created in May 1993.

Its directors were defendant STANLEY ROTHMAN and unindicted

coconspirator John Doe.

      (g)    S.F., an unindicted coconspirator, was a subcontractor

who was hired by defendant STANLEY ROTHMAN to perform work at the

above described parking lot project and the renovation project

for the Welfare Fund.

      (h)   The Welfare Fund owned four vacant lots at Mercer and

Wayne streets in Jersey City, New Jersey (hereinafter known as

lots A, B, Bl and C) .

      2.    From at least in or about December 1992 through at least

in or about May 2001, in Hudson County, in the District of New

Jersey and elsewhere, the defendants,

                         JOSEPH NARDONE, JR. and
                             STANLEY ROTHMAN

did knowingly and willfully conspire and agree with each other,

and others, to embezzle, steal and unlawfully convert to their

own use and the use of others, money and funds of the Welfare

Fund, totaling in excess of $350,000, contrary to Title 18,

United States Code, Section 664.




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  ,,   2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 4 of 24 PageID: 1348



                             MANNER AND MEANS

     3.   It was part of the conspiracy that on or about December

18, 1992, defendant STANLEY ROTHMAN signed an exclusive one year

contract with John Doe and the Welfare Fund to purchase lots A,

B, Bl, and C for $70,000.       Thereafter, on February 4, 1993,

defendant STANLEY ROTHMAN signed another contract extending the

above described agreement until February 4, 1997.

     4.   It was further part of the conspiracy that in August

1997, defendant JOSEPH NARDONE, JR., as Administrator of the

Welfare Fund, agreed to pay defendant STANLEY ROTHMAN $300,000 to

purchase property in Jersey City, New Jersey and convert it into

a parking lot for the benefit of the Welfare Fund without bidding

the project out.

     5.   It was further part of the conspiracy that approximately

$110,000 of the purchase price, described in paragraph 4 above,

was inflated and intended to improperly convert Welfare Fund

money to the benefit of defendants STANLEY ROTHMAN and JOSEPH

NARDONE, JR., to the detriment of the Fund's participants.

     6.   It was further part of the conspiracy that in the Spring

1998, defendant JOSEPH NARDONE, JR. again hired defendant STANLEY

ROTHMAN as the general contractor for a renovation project at the

Welfare Fund office building, without opening the project for




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  Case
  ,,   2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 5 of 24 PageID: 1349



competitive bidding.      Thereafter, defendant STANLEY ROTHMAN

submitted, and defendant JOSEPH NARDONE, JR. knowingly accepted,

an inflated price of $440,000 for the renovation project which

directly and indirectly converted Welfare Fund money to their own

use, to the detriment of the Fund's participants.

     7.     It was further part of the conspiracy that defendant

JOSEPH NARDONE, JR., as Administrator of the Welfare Fund, opened

a separate "building fund" account at the Pamrapo Savings Bank in

order to circumvent the Welfare Fund's Trust Agreement.

Thereafter, defendant JOSEPH NARDONE, JR. issued checks, totaling

in excess of $575,000, to York Builders for renovating One

Nardone Place, knowing that a significant portion of said

disbursements was excessive and provided no genuine benefit to

the Welfare Fund or its participants.

     8.     It was further part of the conspiracy that defendant

STANLEY ROTHMAN issued checks totaling in excess of $600,000 from

York Builders to subcontractor S.F., and others, who then

returned approximately $250,000 in cash to defendant STANLEY

ROTHMAN from the proceeds of the parking lot and renovation

projects.

     9. It was further part of the conspiracy that in or about

early 1999, defendant JOSEPH NARDONE, JR. falsified an existing




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  Case
  '.   2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 6 of 24 PageID: 1350



contract to extend the time period in which the Welfare Fund

could sell lots A, B, Bl and C to defendant STANLEY ROTHMAN.

     10. It was further part of the conspiracy that on or about

April 26, 1999, defendant JOSEPH NARDONE, JR. permitted defendant

STANLEY ROTHMAN to purchase lots A, B, Bl and C from the Welfare

Fund for $70,000 which he sold six days later for $145,000; thus

generating a $75,000 profit for defendant STANLEY ROTHMAN, to the

detriment of the Welfare Fund and its participants.

TOTAL AMOUNT EMBEZZLED FROM THE WELFARE FUND

     11.   As a consequence of the above described parking lot and

renovation projects, in excess of $275,000 was embezzled from the

Welfare Fund by the defendants JOSEPH NARDONE, JR. and STANLEY

ROTHMAN.   In addition, $75,000 was also embezzled from the

Welfare Fund resulting from the sale of lots A, B, Bl and C by

defendant JOSEPH NARDONE, JR. to defendant STANLEY ROTHMAN.

     12.   It was further part of the conspiracy that defendant

JOSEPH NARDONE, JR. improperly established a substantial

"deferred compensation" plan for himself, creating a significant

and unnecessary future liability for the Welfare Fund and its

participants.

                                Overt Acts

     13.   In furtherance of this conspiracy and to effect the




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         2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 7 of 24 PageID: 1351



objects thereof, the defendants committed and caused to be

committed, among others, the following overt acts in the District

of New Jersey and elsewhere:

       a.    On or about February 4, 1993, defendant STANLEY ROTHMAN

signed an exclusive four year contract with John Doe and the

Welfare Fund to purchase lots A, B, Bl, and C;

       b.    In or about 1997, defendant JOSEPH NARDONE, JR.

established for himself a substantial "deferred compensation"

plan funded by the Welfare Fund;

       c.    On or about August 17, 1997, defendant JOSEPH NARDONE,

JR. opened a "building fund" account at Pamrapo Savings Bank on

behalf of the Welfare Fund in Jersey City, New Jersey;

       d.    On December 2, 1997, defendant JOSEPH NARDONE released

$265,000 from the Welfare Fund for the purchase of the parking

lot;

       e.    On December 9, 1997, defendant STANLEY ROTHMAN

purchased the parking lot property from third parties;

       f.    On December 9, 1997, defendant STANLEY ROTHMAN sold the

parking lot property to the Welfare Fund;

       g.    On or about March 17, 1998, M.R. cashed a check from

York Builders and returned $5000 in cash to defendant STANLEY

ROTHMAN;




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         2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 8 of 24 PageID: 1352



     h.      On or about March 20, 1998, A.T. cashed a check from

York Builders and returned $5000 in cash to defendant STANLEY

ROTHMAN;

     i.      On or about March 20, 1998, M.R. cashed a check from

York Builders and returned $5000 in cash to defendant STANLEY

ROTHMAN;

     j.      On or about May 13, 1998, defendant STANLEY ROTHMAN

submitted an inflated contract price of $440,000 to defendant

JOSEPH NARDONE, JR. for the renovation project;

     k.      On or about May 25, 1998, defendant JOSEPH NARDONE, JR.

issued a $200,000 check to York Builders from the Welfare Fund's

"building fund" account for the renovation project;

     1.      On or about July 20, 1998, defendant JOSEPH NARDONE,

JR. requested that $300,000 in securities be sold from the

Welfare Fund investment portfolio;

     m.      On or about August 3, 1998, defendant JOSEPH NARDONE,

JR. issued a $20,000 check to York Builders from the Welfare

Fund's "building fund" account;

     n.      In or about the week of August 19, 1998, S.F. delivered

$20,000 in cash to defendant STANLEY ROTHMAN;

     O.      In or about the week of August 31, 1998, S.F. delivered

$20,000 in cash to defendant STANLEY ROTHMAN;




                                        8
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  Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 9 of 24 PageID: 1353



     p.    On or about September 18, 1998, defendant JOSEPH

NARDONE, JR. issued a $95,000 check to York Builders from the

Welfare Fund's "building fund" account for the renovation

project;

     q.    On or about September 25, 1998, defendant STANLEY

ROTHMAN submitted an inflated proposal to the Welfare Fund for

additional construction at the Welfare Fund building;

     r.    In or about early November 1998, S.F. gave

approximately $88,000 in cash to defendant STANLEY ROTHMAN;

     s.    On or about November 11, 1998, defendant JOSEPH

NARDONE, JR. issued a $66,000 check to York Builders from the

Welfare Fund's "building fund" account for the renovation

project;

     t.    On or about November 11, 1998, defendant JOSEPH

NARDONE, JR. issued a $34,000 check to York Builders from the

Welfare Fund's "building fund" account for the renovation

project;

     u.    On or after December 2, 1998, S.F. gave approximately

$67,000 in cash to defendant STANLEY ROTHMAN;

     v.    On or about December 24, 1998, defendant JOSEPH

NARDONE, JR. issued a $20,000 check to York Builders from the

Welfare Fund's "building fund" account for the renovation




                                      9
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 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 10 of 24 PageID: 1354



project;

     w.    On or about December 24, 1998, defendant JOSEPH

NARDONE, JR. issued a $50,000 check to York Builders from the

Welfare Fund's "building fund" account for the renovation

project;

     x.    On or about December 24, 1998, defendant JOSEPH

NARDONE, JR. issued a $14,500 check to York Builders from the

Welfare Fund's "building fund" account for the renovation

project;

     y.    On or about February 24, 1999, defendant JOSEPH

NARDONE, JR. issued a $48,000 check to York Builders from the

Welfare Fund's "building fund" account for the renovation

project;

     z.    In or about early 1999, defendants JOSEPH NARDONE, JR.

and STANLEY ROTHMAN falsified a contract for the sale of lots A,

B, Bl and C by the Welfare Fund;

     aa.   On or about March 23, 1999, S.F. gave approximately

$25,000 in cash to defendant STANLEY ROTHMAN;

     bb.   On or about April 26, 1999, defendant STANLEY ROTHMAN

purchased lots A, B, Bl and C from the Welfare Fund for $70,000;

     cc.   On or about May 4, 1999, defendant STANLEY ROTHMAN sold

lots A, B, Bl and C for $145,000;




                                     10
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 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 11 of 24 PageID: 1355




       dd.   On or after December 2, 1999, S.F. gave approximately

$14,500 in cash to defendant STANLEY ROTHMAN; and

       ee.   On or about May 1, 2001, defendant JOSEPH NARDONE, JR.

issued a $31,500 check to York Builders from the Welfare Fund's

"building fund" account for the renovation project.



       All in violation of Title 18, United States Code, Section

371.




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 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 12 of 24 PageID: 1356



                                 COUNT TWO

                   (Embezzlement from Welfare Fund)

     1. Paragraphs l(a)-(f), l(h), 3, 9 and 10 of Count One are

hereby realleged and incorporated as if set forth fully herein.

     2. Between on or about April 26, 1999 and May 4, 1999, in

Hudson County, in the District of New Jersey and elsewhere, the

defendants,

                        JOSEPH NARDONE, JR. and
                            STANLEY ROTHMAN

did knowingly and willfully embezzle, steal and unlawfully

convert to their own use and the use of others, money and funds

of the Welfare Fund, totaling approximately $75,000.



     In violation of Title 18, United States Code, Sections 664

and 2.




                                     12
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 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 13 of 24 PageID: 1357



                               COUNT THREE

                 {Conspiracy to Steal from Local 148)

     1. Paragraph l(a) of Count One is hereby realleged and

incorporated as if set forth fully herein.

     2. Defendant JOSEPH NARDONE, JR. served as President of

Local 148 from approximately March 1996 until 1999.           As such, he

was a fiduciary who occupied a position of trust.

     3. Defendant PETER HASHO was President of Local 713 of the

International Brotherhood of Trade Unions, located in Albertson,

Nassau County, New York, which was a "labor organization" within

the meaning of the provisions of Title 29, United States Code,

Sections 152(5), 402(i) and 402(j).        It represented and would

admit to membership persons employed in the service industries in

New York and elsewhere.      Between December 1997 and January 1999,

defendant PETER HASHO was also employed at Local 148.

     4. From at least December 1997 through at least

early January 1999, in Hudson County, in the District of New

Jersey and elsewhere, the defendant,

                       JOSEPH NARDONE, JR. and
                              PETER HASHO

did knowingly and willfully conspire and agree with each other

and others, to embezzle, steal, and unlawfully convert to their




                                     13
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 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 14 of 24 PageID: 1358



own use, money and funds of Local 148, totaling approximately

$17,900, contrary to Title 29, United States Code, Section

501 (c).

                            MANNER AND MEANS

      5. It was part of the conspiracy that in December 1997,

defendant JOSEPH NARDONE, JR. agreed to pay defendant PETER HASHO

as a "special independent organizer" for Local 148 at $1300 per

month.     In truth, defendant PETER HASHO organized no businesses

for Local 148 and provided no legitimate services to Local 148,

all the while collecting payments, to the detriment of Local 148

and its members.

                              Overt Acts

      6. In furtherance of this conspiracy and to effect the

objects thereof, the defendants committed and caused to be

committed, among others, the following overt acts in the District

of New Jersey and elsewhere:

     a.    In or about December 22, 1997, defendant JOSEPH NARDONE,

JR. issued a $1000 Christmas bonus check to defendant PETER HASHO

from Local 148;

     b.    On or about December 31, 1997, defendant JOSEPH NARDONE,

JR. issued a $1300 salary check to defendant PETER HASHO from

Local 148;




                                     14
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 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 15 of 24 PageID: 1359



       c.    On or about January 29, 1998, defendant JOSEPH NARDONE,

JR. issued a $1300 salary check to defendant PETER HASHO from

Local 148;

       d.    On or about March 5, 1998, defendant JOSEPH NARDONE, JR.

issued a $1300 salary check to defendant PETER HASHO from Local

148;

       e.    On or about April 2, 1998, defendant JOSEPH NARDONE, JR.

issued a $1300 salary check to defendant PETER HASHO from Local

148;

       f.    On or about April 23, 1998, defendant JOSEPH NARDONE,

JR. issued a $1300 salary check to defendant PETER HASHO from

Local 148;

       g.    On or about May 28, 1998, defendant JOSEPH NARDONE, JR.

issued a $1300 salary check to defendant PETER HASHO from Local

148;

       h.    On or about July 2, 1998, defendant JOSEPH NARDONE, JR.

issued a $1300 salary check to defendant PETER HASHO from Local

148;

       i .   On or about July 30, 1998, defendant JOSEPH NARDONE, JR.

issued a $1300 salary check to defendant PETER HASHO from Local

148;




                                     15
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 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 16 of 24 PageID: 1360



       j.   On or about August 27, 1998, defendant JOSEPH NARDONE,

JR. issued a $1300 salary check to defendant PETER HASHO from

Local 148;

       k.   On or about August 29, 1998, defendant JOSEPH NARDONE,

JR. issued a $1300 salary check to defendant PETER HASHO from

Local 148;

       1.   On or about November 5, 1998, defendant JOSEPH NARDONE,

JR. issued a $1300 salary check to defendant PETER HASHO from

Local 148;

       m.   On or about December 1, 1998, defendant JOSEPH NARDONE,

JR. issued a $1300 salary check to defendant PETER HASHO from

Local 148; and

       n.   On or about December 31, 1998, a $1300 salary check was

issued to defendant PETER HASHO from Local 148.



       All in violation of Title 18, United States Code, Section

371.




                                     16
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 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 17 of 24 PageID: 1361



                                COUNT FOUR

                     (Embezzlement from Local 148)

     1. Paragraph l(a) of Count One, and paragraphs 2 and 3 of

Count Three are hereby realleged and incorporated as if set forth

fully herein.

     2. From at least December 1997 through in or about January

1999, in Hudson County, in the District of New Jersey and

elsewhere, the defendants,

                        JOSEPH NARDONE, JR. and
                              PETER HASHO

did knowingly and willfully embezzle, steal and unlawfully

convert to their own use, and the use of others, money and funds

of Local 148, totaling approximately $17,900.



     In violation of Title 29, United States Code, Section 501(c)

and Title 18, United States Code, Section 2.




                                     17
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 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 18 of 24 PageID: 1362



                                COUNT FIVE

          (Conspiracy to Conceal Material Facts - HUD Fraud)

     1.     Defendant STANLEY ROTHMAN was the President of York

Builders of Florida, a corporation incorporated in January 1998,

that bought and sold properties in Florida.

     2.     The United States Department of Housing and Urban

Development (hereinafter HUD) was an agency of the United States

Government which administered a variety of financial programs

designed, among other things, to assist qualified individuals in

the purchasing of specified HUD owned residential properties.

     3.     South Palm Realty Services Inc. of Palm Beach, Florida

[hereinafter South Palm Realty] was a licensed Florida real

estate brokerage firm which was contracted by HUD to arrange the

sale of property owned by the Federal Government.           H.B., an

unindicted coconspirator, was an agent for South Palm Realty.

     4.     From at least as early as January 1997 to at least

September 2002, in the District of New Jersey, and elsewhere, the

defendant

                             STANLEY ROTHMAN

did knowingly and wilfully, in a matter within the jurisdiction

of the executive branch of the government of the United States,

conspire and agree with others, to falsify, conceal, and cover up




                                     18
                                                II



 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 19 of 24 PageID: 1363



by trick, scheme and device material facts concerning the

purchase of property from HUD, as set forth more fully in the

manner and means paragraphs below, contrary to Title 18, United

States Code, Section 1001.

                            Manner and Means

     5.   It was part of the conspiracy that defendant STANLEY

ROTHMAN unlawfully acquired certain residential properties from

HUD, in the State of Florida, through the use of individuals,

acting as "straw buyers", who had no intention of purchasing HUD

properties for the purpose of residing in Florida.

     6.   It was further part of the conspiracy that defendant

STANLEY ROTHMAN agreed with unindicted coconspirator H.B., and

others, to create and submit false documents in the names of the

above described "straw buyers" to purchase HUD owned properties

in Florida.

     7.   It was further part of the conspiracy that defendant

STANLEY ROTHMAN would obtain "quit claim" deeds from the "straw

buyers" in order to acquire title to the aforementioned HUD

properties, in violation of HUD regulations.

     8.   It was further part of the conspiracy that unindicted

coconspirator H.B. facilitated defendant ROTHMAN's scheme to

defraud HUD by forging the names of certain "straw buyers" on




                                     19
 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 20 of 24 PageID: 1364



various HUD documents.

     9.    It was further part of the conspiracy that defendant

STANLEY ROTHMAN, having secured title to the aforementioned HUD

residential properties from "straw-buyers", would thereafter

resell the said properties at a significant profit, in violation

of HUD regulations.

                                Overt Acts

     10.    In furtherance of this conspiracy and to effect the

objects thereof, defendant STANLEY ROTHMAN and others committed

and caused to be committed, among others, the following overt

acts in the District of New Jersey and elsewhere:

     a.    On or about July 8, 1997, defendant STANLEY ROTHMAN

utilized S.R. as a "straw buyer" to purchase HUD property;

     b.    On or about July 25, 1997, defendant STANLEY ROTHMAN

utilized D.R. as a "straw buyer" to purchase HUD property;

     c.    On or about February 3, 1998, defendant STANLEY ROTHMAN

utilized C.M. as a "straw buyer" to purchase HUD property;

     d.    On or about March 19, 1998, defendant STANLEY ROTHMAN

utilized A.S. as a "straw buyer" to purchase HUD property;

     e.    On or about August 26, 1998, defendant STANLEY ROTHMAN

utilized S.F. as a "straw buyer" to purchase HUD property;




                                     20
                                                II



 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 21 of 24 PageID: 1365



       f.   On or about January 5, 1999, defendant STANLEY ROTHMAN

utilized C.S. as a "straw buyer" to purchase HUD property;

       g.   On or about February 26, 1999, defendant STANLEY ROTHMAN

utilized D.G. as a "straw buyer" to purchase HUD property; and

       h.   On or about September 17, 2002, the defendant STANLEY

ROTHMAN called unindicted coconspirator H.B. to warn her that

federal agents were in Florida conducting an investigation into

the above described scheme to defraud HUD.

       All in violation of Title 18, United States Code, Section

371.




                                     21
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 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 22 of 24 PageID: 1366



                                 COUNT SIX

                            (Money Laundering}

       1. Paragraphs l(a)-(c), (e), (g}, 4 through 6 and 8 of Count

One are hereby realleged and incorporated as if set forth fully

herein.

       2. From at least the Spring 1998 to at least December 1999,

in Jersey City, in the District of New Jersey, and elsewhere, the

defendant,

                             STANLEY ROTHMAN

knowing that the property involved in the financial transactions,

as described in paragraph 8 of Count One incorporated above,

represented the proceeds of some form of unlawful activity, and

knowing that the transactions were designed in whole and in part

to conceal and disguise the nature, location, source, ownership,

and control of the proceeds of specified unlawful activity, did

knowingly and willfully conduct financial transactions affecting

interstate commerce which in fact involved the proceeds of

specified unlawful activity, specifically the transfer, delivery,

and other disposition of United States currency in excess of

$225,000 that was the proceeds of an embezzlement from a union

benefit plan, contrary to Title 18, United States Code, Section

664.




                                     22
                                                 II



 Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 23 of 24 PageID: 1367



      In violation of Title 18, United States Code, Section

1956 (a) (1) (B) (i) .




                                          A TRUE BILL




(JL~G-, S,               ~~~
CHRISTOPHER J. CHRISTIE
UNITED STATES ATTORNEY




                                     23
Case 2:03-cr-00327-JLL Document 1 Filed 04/29/03 Page 24 of 24 PageID: 1368

                      CRIM. NUMBER:    =0=3--~~~


                   United States District Court
                     District of New Jersey
                   UNITED STATES OF AMERICA
                             vs.
                      JOSEPH NARDONE, JR.,
                     STANLEY ROTHMAN and
                         PETERHASHO

                          INDICTMENT
                              FOR

            Title 18 U.S.C. §§ 371, 664, 1956 a(l)(B)(i) & 2
             Title 29 U.S.C. § 501(c)




                CHRISTOPHER J. CHRISTIE
                U.S. ATTORNEY NEWARK, NEW JERSEY

                 V. GRADY O'MALLEY, AUSA - (973)645-2725
                       UNITED STATES ATTORNEY'S OFFICE
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                             NEWARK, NEW JERSEY




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